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                       UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                               Case No. 1:12-cr-00180-BLW
                    Plaintiff,
                                               ORDER
        v.

 STEPHANIE NAGEL,

                    Defendant.


                                       ORDER

      IT IS ORDERED:

      1.     Plaintiff’s Motion to Dismiss (Dkt. 120) is GRANTED. The charges

             against Stephanie Nagel are dismissed without prejudice.



                                        DATED: June 10, 2013



                                        B. LYNN WINMILL
                                        Chief U.S. District Court Judge




ORDER - 1
